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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:07CR3079
     v.                              )
                                     )
JOSE ROMO-CORRALES and               )
FRANCISCO GALVAN-VALDEZ,             )
                                     )       ORDER
     Defendants.                     )


     IT IS ORDERED:

     1. An evidentiary hearing on the motion of defendant
Romo-Corrales to suppress evidence, filing 45, will be held
before the undersigned on February 26, 2008 beginning at 10:00
a.m. in Courtroom #2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska. The
court has set aside two hours for this hearing.

     2. Defendant Jose Romo-Corrales, his counsel, and counsel
for the government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to both defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated February 14, 2008.

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
